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                     EXHIBIT A
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 8                                UNITED STATES DISTRICT COURT
 9                              SOUTHERN DISTRICT OF CALIFORNIA
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11   FINJAN, INC.,                                              Case No.: 3:17-cv-0183-CAB-(BGS)
12                                             Plaintiff,
                                                                ORDER ON FINJAN’S MOTION FOR
13   v.                                                         RECONSIDERATION
14   ESET, LLC, a California Limited Liability
     and ESET SPOL. S.R.O., a Slovak
15                                                              [Doc. No. 707]
     Republic Corporation,
16                                         Defendants.
17
18          On October 16, 2019, the Court entered an order granting Eset’s motions to
19   exclude the opinions of two Finjan experts, Dr. Ricardo Valerdi and Dr. Eric Cole, under
20   Federal Rule of Evidence 403. [Doc. No. 699.] Finjan now moves for reconsideration of
21   that order pursuant to CivLR 7.1(i),1 which is not proper authority for reconsideration in
22   this circumstance. The motion is therefore considered pursuant to Fed.R.Civ.P. 60(b)(6),
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26     This local rule is inapplicable to this motion as it contemplates a party resubmitting a request for relief
     to a judge other than the judge who initially denied the request. Further, it requires that the application
27   for relief include an affidavit from a party or witness, or a certified statement of an attorney, setting forth
     new or different facts and circumstances that the party claims exist which did not exist or were not shown
28   upon such prior application. No new or different facts are asserted in this motion.

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 1   on the grounds stated by Finjan, that the Court misapprehended the experts’ opinions.
 2   [Doc. No. 707.] The motion for reconsideration is denied.
 3         Reconsideration of a prior order is appropriate if the district court (1) is presented
 4   with newly discovered evidence, (2) committed clear error or the initial decision was
 5   manifestly unjust, or (3) if there is an intervening change in controlling law.” Sch. Dist.
 6   No. 1J Multnomah Cty. V. ACandsS, Inc., 5 F.3d 1255, 1263 (9th Cir. 1993). Whether to
 7   grant a motion for reconsideration is in the “sound discretion” of the district court. Navajo
 8   Nation v. Norris, 331 F.3d 1041, 1046 (9th Cir. 2003).
 9         In the motion for reconsideration, Finjan contends that the Court did not understand
10   that Dr. Valerdi’s opinion is an estimate of the cost “to build a version of the software that
11   would satisfy the requirements for Eset’s software and that would be a proxy for
12   determining the cost to build a non-infringing alternative.” [Doc. No. 707, at 4.] Dr.
13   Valerdi’s report however states he was tasked with providing an opinion as to the costs of
14   developing the accused technologies. [Doc. No. 491-1 (sealed) at 4.] Dr. Valerdi’s opinion
15   does not provide the costs of a non-infringing alternative. Finjan has not shown how Dr.
16   Valerdi’s hypothetical system meeting “Eset’s requirements” would not be subject to
17   claims of infringement. Dr. Valerdi stated in his report, “I have been asked to determine
18   the cost of developing the following accused technologies …” [Id.]
19         The Court did not misapprehend Dr. Valerdi’s opinion – he estimates the cost of
20   developing the accused infringing system. The Court determined that this hypothetical
21   exercise would be misleading and confusing to the jury and the artificial number generated
22   by Dr. Valerdi’s hypothetical reconstruction of the defendant’s systems would be unduly
23   prejudicial and excluded it pursuant to FRE 403.      Finjan has not demonstrated that the
24   exclusion was clearly erroneous.
25         Finjan also requests the exclusion of Dr. Cole’s opinion regarding the cost to
26   implement a system of manually processing each individual file, a “known non-infringing
27   technique” versus utilizing the accused technology. [Doc. No. 707, at 6.] Finjan argues
28   that Eset would have considered human analysis as an alternative non-infringing technique,

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 1   while at the same time acknowledging that human analysis would not be a viable option.
 2   A proposed alternative that is neither economically feasible or commercially acceptable is
 3   not a viable alternative to infringement. The Court concluded that introduction of the costs
 4   of processing the files in a manner no expert considered a viable alternative to the patented
 5   technology would serve no useful purpose other than to introduce an artificial and
 6   prejudicial damages figure. Finjan has presented nothing to merit reconsideration of the
 7   Court’s determination that such evidence is excluded pursuant to FRE 403.
 8         Accordingly, the motion is DENIED.
 9   Dated: December 23, 2019
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